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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

Treva Thompson, et al.,

       Plaintiffs,                              PLAINTIFFS’ SUPPLEMENTAL
                                                CLASS-ACTION COMPLAINT
 v.                                             FOR DECLARATORY AND
                                                INJUNCTIVE RELIEF
John H. Merrill, in his official capacity
as Secretary of State, et al.,                  Civil Action No. 2:16-cv-783-WKW-
                                                CSC
       Defendants.



         Pursuant to Federal Rule of Civil Procedure 15(d), Plaintiffs file this

Supplemental Complaint setting forth events that occurred after the filing of their

Original Complaint on September 26, 2016 and pleading additional claims based on

those events. This supplemental complaint is filed in addition to, not in replacement

of, Plaintiffs’ original complaint. Plaintiffs allege as follows.

                         Supplemental Factual Allegations

      1. Plaintiffs brought this case challenging Alabama’s laws and procedures

respecting felony disenfranchisement pursuant to the U.S. Constitution, 42 U.S.C.

§1983, and the Voting Rights Act, 52 U.S.C. §10301.

      2. Section 177(a) of Alabama’s Constitution affirmatively guarantees the right to

vote of Alabamians that meet the age, citizenship, residency, and registration

qualifications and are not disqualified on the basis of Section 177(b). Section 177(a)

and Section 177(c) charge the Alabama Legislature with implementing Section 177’s

guarantees and restrictions through statute.
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   3. As discussed at length in Plaintiffs’ original complaint, Section 177(b) of the

Alabama Constitution disenfranchises individuals “convicted of a felony involving

moral turpitude” until their political rights are restored. Ala. Const. art. VIII,

§177(b).

   4. However, Section 177 of the Alabama Constitution does not specify any felonies

“involving moral turpitude,” and the Legislature did not do so until after the filing

of Plaintiffs’ original complaint.

   5. Until the 2017 legislative session, any guidance on what felonies involved

“moral turpitude” was non-exhaustive, non-authoritative, vague, and internally

inconsistent.

   6. In May 2017, the Alabama Legislature enacted and Governor Ivey signed into

law the Felony Voter Disqualification Act, House Bill 282 (“HB 282”). 2017 Ala. Laws

Act 2017-378, codified at Ala. Code § 17-3-30.1.

   7. HB 282 conceded that, until its passage, “there [was] no comprehensive list of

felonies that involve moral turpitude which disqualify a person from exercising his

or her right to vote. Neither individuals with felony convictions nor election officials

ha[d] a comprehensive, authoritative source for determining if a felony conviction

involve[d] moral turpitude and [was] therefore a disqualifying felony.” Ala. Code §

17-3-30.1(b)(1)(b).

   8. HB 282 provides a list of forty-six disqualifying crimes tied to specific Alabama

criminal code violations pursuant to Section 177. Ala. Code § 17-3-30.1(c).




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   9. This list includes a range of crimes not ordinarily subject to the same penalties,

from various degrees of homicide and torture to non-violent trafficking in cannabis

to simple non-violent theft of property and forgery convictions. Id.

   10. HB 282 does not include bribery, perjury, abuse of public office, and other

related crimes meaningfully connected to the act of voting on its list of disqualifying

convictions. Yet, these were the only crimes that could take away citizens’ “privilege

of free suffrage” upon conviction, Ala. Const. of 1819, art. VI, § 5, in the 1819 and

1861 Alabama Constitutions, when only “male white person[s] . . . [were] entitled to

vote.” Ala. Const. of 1861, art. III, § 5. See also, Ala. Const. of 1819, art. III, § 5; Ala.

Const. of 1861, art. VI, § 5.

   11. On March 9, 2017, Representative John Knight entered the following

statement into the House Journal: “HB 282 in its current form would enfranchise

some of our citizens, so we can support it as a step in the right direction. But ‘moral

turpitude’ was placed in the Alabama Constitution for the purpose of disfranchising

African Americans, and it needs to be repealed altogether. We ask the State of

Alabama to release to the public complete information about the racial impact of the

crimes that this bill defines to be ‘moral turpitude.’”

   12. HB 282 is written in the present tense. It states that “a person is disqualified

to vote by reason of conviction of a felony involving moral turpitude only when

convicted” of the disqualifying crimes and “[t]he felonies involving moral turpitude

listed in subsection (c) are the only felonies for which a person, upon conviction, may

be disqualified from voting.” Ala. Code § 17-3-30.1(c), (e) (emphasis added).



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   13. The effective date of HB 282 was August 1, 2017. 2017 Ala. Laws Act 2017-

378, § 3.

   14. Despite the prospective language in HB 282, the Secretary of State has

unilaterally determined that HB 282, the only statute that implements Section 177,

shall be applied retroactively to those convicted of crimes prior to HB 282’s effective

date. The Secretary of State has instructed registrars to purge voters and reject voter

registrants who have convictions listed on HB 282 even if those convictions occurred

prior to HB 282’s passage and effective date.

   15. As a result of the Secretary of State’s unilateral retroactivity determination,

Plaintiffs Treva Thompson, Melissa Swetnam, Mario Dion Yow, Jennifer Zimmer,

Timothy Lanier, Pamela King, and all other similarly situated individuals whose HB

282-enumerated convictions predated the HB 282’s effective date are ineligible to

register and vote, unless they succeed in having those rights specifically restored.

   16. As a result of HB 282, Plaintiffs Antwoine Giles and Laura Corley are now

eligible to vote.

   17. Since the filing of the original complaint, Plaintiffs Anna Reynolds has

received a Certificate of Eligibility to Register to Vote (CERVs) and is now eligible

to vote. Plaintiff Larry Joe Newby Newby has also applied for his CERV and the

Board has informed him through counsel that it will be approved.

   18. Despite HB 282’s significant change to the law regarding voter eligibility, the

Secretary of State has not updated the State of Alabama Mail-In Voter Registration

Form (“State Form”), or alerted the Election Assistance Commission of these



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eligibility changes, or requested changes to the state-specific instructions for

Alabama on the National Mail Registration Form (“Federal Form”).

   19. The State Form informs each potential voter that to register to vote: “you

must: . . . [n]ot have been convicted of a disqualifying felony, or if you have been

convicted, you must have had your civil rights restored.” The State Form also

requires each potential voter to affirm under penalty of perjury: “I am not barred

from voting by reason of a disqualifying felony conviction.” The State Form provides

no information regarding HB 282’s list of “disqualifying convictions,” or how to

determine whether a conviction is disqualifying.

   20. A likely and reasonable interpretation of the phrase “disqualifying felony

conviction,” without additional information, is that felony convictions are always

disqualifying, rather than a subset of felony convictions are disqualifying.

   21. The Alabama state-specific instructions on the Federal Form inform each

potential voter that to register to vote: “you must: . . . not have been convicted of a

felony involving moral turpitude (or have had your civil and political rights

restored).” The instructions do not refer the voter to any information regarding what

felonies involve “moral turpitude.”

   22. The Federal Form requires voters to swear/affirm that they have reviewed

the state-specific instructions in the Federal Form and that they meet the eligibility

requirements of their state.




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   23. On December 26, 2017, this Court entered a Memorandum Opinion and

Order granting and denying, in part, Defendants’ motion to dismiss this action in its

entirety.

   24. The Order dismissed Counts 3, 4, 5, 6, 7, 8, 9, 10, 14, and 15 of the original

complaint on various grounds. With respect to Counts 6, 7, 8, 9, and 10, this Court

held that HB 282, as described herein, mooted Plaintiffs’ claims. This Court denied

Defendants’ motion to dismiss as to Counts 1 and 2, alleging that Section 177 was

enacted and maintained with discriminatory intent; Count 11, alleging that Section

177’s application violates the Ex Post Facto Clause; Count 12, alleging that Section

177’s application violates the U.S. Constitution’s prohibition on cruel and unusual

punishment; and Count 13, alleging that Alabama Code Section 15-22-36.1’s

requirement that individuals pay all fines and fees in order to restore their right to

vote violates the Fourteenth Amendment, at least as applied to those who cannot

afford to pay their fines and fees.

   25. Without waiving their right to appeal the dismissal of their other claims at

the appropriate time, Plaintiffs submit this Supplemental Complaint to supplement

only their allegations with respect to their remaining claims in light of HB 282 and

to add new claims that have arisen in light of HB 282 and Defendant Merrill’s

improper retroactive implementation of it.

                                 Additional Parties

   26. Plaintiff Darius Gamble is a black 42-year-old citizen of the United States

who resides in Gardendale, Alabama, in Jefferson County. In or around 2008,



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Plaintiff Gamble was convicted of trafficking marijuana in violation of Alabama Code

Section 13A-12-231. Trafficking in cannabis is a disqualifying conviction under HB

282. Plaintiff Gamble’s conviction was entered years before the passage of HB 282,

but the Secretary of State considers his conviction disqualifying. Plaintiff Gamble’s

conviction for trafficking in cannabis did not appear on any of the prior lists of

potentially disqualifying crimes, including Alabama Code Section 15-22-36.1(g), the

2005 Attorney General Opinion, Att’y Gen Op. No. 2005-092, 2005 WL 1121853, and

the 2007 Administrative office of Courts list of “disqualifying” crimes, see Ex. A to

Doc. 1.

   27. Plaintiff Gamble meets all the requirements for a CERV, except the payment

of all legal financial obligations. In or around 2014, after the completion of his

probation, Mr. Gamble applied for a CERV. His CERV application was denied based

on his outstanding fines and fees. At the time of his conviction, the court imposed a

$50,000 fine on Plaintiff Gamble. Ala. Code § 13-A-12-231. Mr. Gamble has regularly

paid monthly installments of $25 to $50 toward his fine. Nonetheless, his

outstanding fines have been compounded by a thirty percent collection fee. Ala. Code

§ 12-17-225.4. He currently owes $63,073.30 in fines and fees. He has no outstanding

restitution. All of his outstanding legal obligations are to the State. Mr. Gamble is

not financially able to pay his outstanding fines and fees in full at this time or

anytime in the foreseeable future. His inability to pay these fines and fees makes

him ineligible for a CERV that would restore his voting rights. Mr. Gamble wishes

to vote in the 2018 and future elections.



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                            Additional Party Allegations

   28. In addition to its initial allegations, organizational plaintiff Greater

Birmingham Ministries (“GBM”) alleges the following.

   29. As a result of Defendant Merrill’s implementation of HB 282 pursuant to

Section 177(b), GBM must devote staff time and resources to helping those with

felony convictions (1) determine whether they may be eligible to register to vote, (2)

attempt to register to vote, (3) determine whether they may be eligible for a CERV,

and (4) apply for a CERV.

   30. As a result of Defendant Merrill’s retroactive implementation of HB 282,

GBM must devote more staff time and resources to these activities than would be

required if HB 282 was applied only prospectively. More members of GBM’s

community are disenfranchised due to the retroactive application of this law.

   31. As a result of Defendant Merrill’s refusal to update Alabama’s voter

registration forms to include eligibility information for people with convictions

pursuant to HB 282, GBM must devote more staff time and resources to these

activities than would be required if the forms provided prospective voters with

complete eligibility information. Many members of GBM’s community remain

confused about their eligibility to vote due to Defendant Merrill’s failure to update

the State and Federal voter registration forms.

                               Classes and Subclasses

   32. The passage and implementation of HB 282 necessarily changes the scope of

Plaintiffs’ alleged class and subclasses. The following class and two subclasses are



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defined for purposes of the remaining claims and the new claims raised in this

Supplemental Complaint.

   33. The Plaintiff Class that Plaintiffs Gamble, Thompson, Swetnam, Yow,

Zimmer, Lanier, and King seek to represent is now defined as: all persons otherwise

eligible to register to vote in Alabama who are now, or who may in the future be,

denied the right to vote pursuant to Section 177(b) because of a conviction for a felony

“involving moral turpitude” as defined by section (c) of Alabama Code Section 17-3-

30.1.

   34. Plaintiffs seek relief for the entire Plaintiff Class pursuant to Counts 1, 2,

and 12, which allege that Section 177(b) was enacted and maintained with

discriminatory intent and imposes cruel and unusual punishment.

   35. Plaintiffs also seek to represent a subclass relevant to their Ex Post Facto

and additional Due Process claims (Counts 11, 16, and 17). Plaintiffs Gamble,

Thompson, Swetnam, Yow, Zimmer, Lanier, and King seek to represent an Ex Post

Facto subclass defined as follows: all persons otherwise eligible to register to vote in

Alabama who were convicted of a felony “involving moral turpitude” as defined by

section (c) of Alabama Code Section 17-3-30.1 before August 1, 2017 but are unable

to register to vote pursuant to Defendant Merrill’s retroactive implementation of

Alabama Code Section 17-3-30.1 to individuals with prior convictions.

   36. Plaintiffs Gamble, Swetnam, and Thompson seek to represent an Legal

Financial Obligation (LFO) subclass defined as follows: all persons otherwise eligible

to register to vote in Alabama who (1) are now, or who may in the future be, denied



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the right to vote pursuant to Section 177(b) because of a conviction for a felony

“involving moral turpitude” as defined by section (c) of Alabama Code Section 17-3-

30.1; and (2) are unable to pay their fines, fees, and/or restitution due to their

socioeconomic status; but (3) are otherwise eligible to apply for a CERV.

   37. Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs bring this action

on behalf of themselves and all other similarly situated persons. Plaintiffs do not

seek claims for compensatory relief. Instead, Plaintiffs seek only declaratory and

injunctive relief broadly applicable to members of the Plaintiff Class and the Plaintiff

Subclasses, as defined above. The requirements of Rule 23, and in particular Rule

23(b)(2), are met with respect to the Plaintiff Class and Plaintiff Subclasses, as

defined above.

   38. The members of the Plaintiff Class and Plaintiff Subclasses are so numerous

that joinder is impracticable. The Plaintiff Class and Plaintiff Subclasses are

ascertainable through Defendants’ records, as well as records kept by the Alabama

Circuit Clerks and the Board of Pardons and Paroles.

   39. In addition to the common questions of law and fact alleged in the original

complaint, common questions of law and fact predominate over questions affecting

only individual class members with respect to allegations in this Supplemental

Complaint. Those questions include, but are not limited to, the following:

   a. Whether Defendant’s retroactive application of Section 17-3-30.1 violates the

Ex Post Facto Clause;




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   b. Whether Defendants’ retroactive application of Section 17-3-30.1 violates the

Fourteenth Amendment; and

   c. Whether Defendants’ application of Section 17-3-30.1, in whole or in part,

imposes cruel and unusual punishment in violation of the Eighth Amendment.

   40. The claims of Plaintiffs Gamble, Thompson, Swetnam, Yow, Zimmer, Lanier,

and King are typical of the Plaintiff Class and Plaintiff Subclasses as defined above.

Plaintiffs are not aware of any conflict between their interests and those of the

Plaintiff Class and Subclasses they seek to represent.

   41. Plaintiffs can fairly and adequately represent the interests of the Plaintiff

Class and Plaintiff Subclasses because they are similarly situated with members of

their classes. Plaintiffs have retained counsel experienced in class-action litigation

and voting rights litigation to represent them and the Plaintiff Class and Subclasses

for the purpose of this litigation.

   42. Defendants continue to act, or refuse to act, on grounds generally applicable

to the Plaintiff Class and Plaintiff Subclasses, and final injunctive relief and

corresponding declaratory relief are appropriate respecting the classes as a whole.

   43. A class action is superior to other available means for the fair and efficient

adjudication of the Plaintiff Class and Plaintiff Subclasses members’ claims because

joinder of all members is impracticable. Absent the class action, the members of the

Plaintiff Class and Plaintiff Subclasses will continue to suffer deprivation of their

right to vote.




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       Additional Allegations with Respect to Counts 1, 2, 11, 12, and 13

         Count 1: Intentional Race Discrimination, 14th Amendment
                               (42 U.S.C. § 1983)
                      (All Plaintiffs and Plaintiff Class)
     (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   44. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   45. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   46. The passage of Section 17-3-30.1—which only implements Section 177(b) of

the Alabama Constitution and does not independently disenfranchise individuals—

does not affect Plaintiffs’ allegations that Section 177(b) of the Alabama Constitution

was passed and maintained with racially discriminatory intent in violation of the

Equal Protection Clause of the Fourteenth Amendment.

   47. Upon information and belief, Section 17-3-30.1 does not cure, but rather

maintains, the racially discriminatory impact of Section 177(b).

         Count 2: Intentional Race Discrimination, 15th Amendment
                               (42 U.S.C. § 1983)
                      (All Plaintiffs and Plaintiff Class)
     (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   48. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   49. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   50. The passage of Section 17-3-30.1—which only implements Section 177(b) of

the Alabama Constitution and does not independently disenfranchise individuals—

does not affect Plaintiffs’ allegations that Section 177(b) violates the Fifteenth



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Amendment to the U.S. Constitution because it purposely denies and abridges

Plaintiffs’ and other minority voters’ right to register and vote on account of race or

previous condition of servitude.

   51. Upon information and belief, Section 17-3-30.1 does not cure, but rather

maintains, the racially discriminatory impact of Section 177(b).

          Count 11: Retroactive Punishment, Ex Post Facto Clause
                             (42 U.S.C. § 1983)
    (Plaintiffs GBM, Gamble, Thompson, Swetnam, Yow, Zimmer, Lanier,
                    King and Ex Post Facto Subclass)
    (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   52. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   53. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   54. Prior to the passage of Section 17-3-30.1 in May 2017, as alleged in Plaintiffs’

original complaint, determinations about disenfranchisement based on felony

convictions were made on an individualized basis by registrars at the time of

registration.

   55. Upon passage of Section 17-3-30.1, Defendant Merrill instructed Defendant

registrars to apply Section 17-3-30.1 retroactively to disenfranchise individuals with

convictions listed in Section 17-3-30.1 even if those convictions occurred prior to

Section 17-3-30.1’s passage and effective date.

   56. The exclusion of bribery, perjury, abuse of public office, and other related

crimes meaningfully connected to the act of voting from Section 17-3-30.1’s list of




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disqualifying convictions further demonstrates that Section 17-3-30.1 functions as a

punishment.

   57. As to individuals with convictions prior to August 1, 2017, Section 17-3-30.1’s

application imposes retroactive punishment in violation of the U.S. Constitution’s

prohibition on ex post facto laws.

      Count 12: Disenfranchisement as Cruel and Unusual Punishment,
                                8th Amendment
                               (42 U.S.C. § 1983)
                      (All Plaintiffs and Plaintiff Class)
     (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   58. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   59. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   60. Plaintiffs bring this claim on behalf of the Plaintiff Class but also bring this

claim in the alternative on behalf of the subclasses in paragraph 37.

   61. Similar to the registrars’ prior application of Section 177(b), Section 17-3-

30.1 permanently disenfranchises a broad swath of individuals convicted of vastly

disparate crimes, from various degrees of homicide to assault to non-violent

trafficking in cannabis to simple non-violent theft of property and forgery. It

permanently disenfranchises individuals who have been convicted of many class C

felonies. It imposes the same punishment on a person convicted of murder and a

person convicted of a single theft crime.

   62. Alabama citizens like Plaintiff Thompson and many others have been

convicted of crimes for which the sentencing court imposed either no or minimal



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prison time, but nonetheless face permanent exclusion from the political franchise

and thus permanent exclusion from meaningful participation in our democracy.

They are sentenced, in essence, to civil death.

   63. Section 17-3-30.1 is also an outlier nationwide. Only eight other states still

impose permanent disenfranchisement on any subset of citizens with felony

convictions, and several of those remaining eight states limit the subset of persons

subjected to permanent disenfranchisement more narrowly than Section 17-3-30.1.

   64. Section 17-3-30.1 imposes unusual, unreasonable, and often widely

disproportionate punishment on Alabama citizens in violation of the Eighth

Amendment.

         Count 13: Disenfranchisement for Failure to Pay LFOs, 14th
                               Amendment
                             (42 U.S.C. § 1983)
      (Plaintiffs GBM, Gamble, Thompson, Swetnam and LFO Subclass)
                        (Against Defendant Walker)

   65. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   66. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   67. The passage of Section 17-3-30.1 has no impact whatsoever on the

unconstitutional wealth restriction on access to the right to vote imposed by

Alabama Code Section 15-22-36.1(a)(3).

   68. For those disenfranchised by Section 17-3-30.1 as applied by Secretary

Merrill and who are unable to pay their fines and fees—including Plaintiffs Gamble,




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Thompson, Swetnam, and the LFO subclass—the LFO requirement remains a

wealth barrier to political participation.

   69. As alleged in the original complaint, Alabama Code Section 15-22-36.1(a)(3)

invidiously discriminates between Alabama citizens with prior disqualifying felonies

who are able to pay their legal financial obligations and those who are unable to do

so, in violation of the Fourteenth Amendment.

                                 Supplemental Claims

     Count 16: Unlawful Deprivation of State-Created Right to Vote, Due
                    Process Clause, 14th Amendment
                             (42 U.S.C. § 1983)
    (Plaintiffs GBM, Gamble, Thompson, Swetnam, Yow, Zimmer, Lanier,
                    King and Ex Post Facto Subclass)
    (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   70. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   71. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   72. It is well-established that state laws may create liberty interests that are

entitled to the protections of the Due Process Clause of the Fourteenth Amendment.

See Vitek v. Jones, 445 U.S. 480 (1980).

   73. It is further well-established that the right to vote—where it is granted by

state law—is a protected liberty interest under the Due Process Clause of the

Fourteenth Amendment. See, e.g., Bush v. Gore, 531 U.S. 98, 105 (2000); Anderson

v. Celebrezze, 460 U.S. 780 (1983).




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   74. The Due Process Clause of the Fourteenth Amendment protects individuals

from disenfranchisement in violation of state election law. Duncan v. Poythress, 657

F.2d 691, 708 (5th Cir. 1981).

   75. Pursuant to Alabama law, otherwise eligible individuals with felony

convictions prior to the passage and implementation of Section 17-3-30.1 have the

same right to vote as other eligible citizens.

   76. Section 177(a) of Alabama’s Constitution affirmatively guarantees the right

to vote of citizens of the United States who meet the age, residency, and registration

qualifications and are not disqualified on the basis of Section 177(b).

   77. As discussed at length in Plaintiffs’ original complaint, Section 177(b) of the

Alabama Constitution disenfranchises individuals “convicted of a felony involving

moral turpitude” until their political rights are restored. Ala. Const. art. VIII,

§177(b). However, the Alabama Constitution does not specify the felonies “involving

moral turpitude,” nor did the Legislature do so until after the filing of Plaintiffs’

original complaint. Sections 177(a) and 177(c) require the Alabama Legislature to

implement Section 177’s guarantees and restrictions through statute.

   78. Therefore, prior to the passage of Section 17-3-30.1, no operative state

provision lawfully disenfranchised any persons based on their felony convictions.

Citizens convicted of felonies after ratification of Amendment 579 in 1996 retained

the same state right to vote, affirmatively protected by Section 177(a), as all other

eligible citizens.




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   79. Pursuant to well-established Alabama law, Section 17-3-30.1 does not apply

retrospectively. Section 17-3-30.1 is written in the present tense. It states that “a

person is disqualified to vote by reason of conviction of a felony involving moral

turpitude only when convicted” of the disqualifying crimes and “[t]he felonies

involving moral turpitude listed in subsection (c) are the only felonies for which a

person, upon conviction, may be disqualified from voting.” Ala. Code § 17-3-30.1(c),

(e) (emphasis added).

   80. Under Alabama law, retroactive application of statutes is highly disfavored

and must be clearly expressed. Bd. of Sch. Comm'rs of Mobile Cty. v. Christopher, 97

So. 3d 163, 167 (Ala. Civ. App. 2012).

   81. Defendant Merrill’s unilateral determination to apply HB 282 retroactively

to people with “disqualifying convictions” entered prior to August 1, 2017—despite

HB 282’s prospective language and applicable state law—constitutes unlawful

disenfranchisement in violation of state election law and thus violates the Due

Process Clause of the Fourteenth Amendment.

    Count 17: Unlawful Retroactive Deprivation of the Right to Vote, Due
                     Process Clause,14th Amendment
                              (42 U.S.C. § 1983)
    (Plaintiffs GBM, Gamble, Thompson, Swetnam, Yow, Zimmer, Lanier,
                    King and Ex Post Facto Subclass)
    (Against Defendant Merrill, Defendant Noblin, and Defendant Class)

   82. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   83. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.




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   84. Elementary notions of fairness enshrined in the Due Process Clause dictate

that a person receive fair notice not only of the conduct that will subject him to

punishment but also of the severity of the penalty that a state may impose. BMW of

N. Am., Inc. v. Gore, 517 U.S. 559, 574 (1996).

   85. Even if this Court finds that Section 177(b), as enforced through Section 17-

3-30.1, does not constitute punishment within the meaning of the Ex Post Facto

Clause, the stripping of political rights on the basis of criminal convictions “share[s]

key characteristics of criminal sanctions” such that “[r]etroactive imposition” of

Section 17-3-30.1 “raise[s] a serious constitutional question.” Landgraf v. USI Film

Prod., 511 U.S. 244, 281 (1994).

   86. “The retrospective aspects of legislation, as well as the prospective aspects,

must meet the test of due process, and the justifications for the latter may not suffice

for the former.” Usery v. Turner Elkhorn Mining Co., 428 U.S. 1, 17 (1976).

   87. Retroactive application of legislation is most suspect when it is imposed on

the basis of a theory of deterrence or blameworthiness. Id.

   88. As alleged in Plaintiffs’ original complaint, no constitutional, non-punitive

rationale for limiting the rights of citizens with felony convictions to vote can support

Section 177(b) and Section 17-3-30.1. See Pamela S. Karlan, Convictions and Doubts:

Retribution, Representation, and the Debate Over Felon Disenfranchisement, 56

Stan. L. Rev. 1147, 1150-55 (2004).

   89. As alleged above, Section 17-3-30.1’s exclusion of bribery, perjury, abuse of

public office, and other related crimes meaningfully connected to the act of voting



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from its list of disqualifying convictions further demonstrates that Section 17-3-30.1

can only operate to punish individuals for their conduct.

   90. Therefore, the retroactive application of Section 17-3-30.1 to individuals with

convictions predating its passage violates the Due Process Clause as it cannot be

sufficiently justified by its punitive goals.

     Count 18: Failure to Specify Eligibility Requirements, National Voter
                              Registration Act
                               (52 U.S.C. § 20510)
                                (Plaintiff GBM)
                          (Against Defendant Merrill)

   91. Plaintiffs reallege the facts set forth in paragraphs 1-45, above.

   92. In addition to all of the allegations in their original complaint, Plaintiffs

allege the following.

   93. The principle purpose of the National Voter Registration Act of 1993

(“NVRA”), 52 U.S.C. § 20501 et seq., is to “establish procedures that will increase

the number of eligible citizens who register to vote in elections for Federal office.”

52 U.S.C. § 20501(b)(1).

   94. Specifically, the NVRA requires states to “inform applicants . . . of [ ] voter

eligibility requirements,” whether registrants apply via the Federal Form, a state

mail-in form, the department of motor vehicles, or any other NVRA agency. 52

U.S.C. § 20507(a)(5).

   95. The NVRA further requires that the Federal Form and any state-issued

mail-in voter registration form used to register voters for federal elections




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accurately “specif[y] each eligibility requirement” for applicants. 52 U.S.C. §

20508(b)(2)(A); see also 52 U.S.C. § 20505(a)(2).

   96. To ensure the Federal Form’s accuracy, a state’s chief election official must

notify the Election Assistance Commission (EAC) of any changes in the state’s

voter eligibility requirements within 30 days. 11 C.F.R. § 9428.6.

   97. Neither the Alabama-specific instructions to the Federal Form, as dictated

to the EAC by Defendant Merrill, nor the State Form provide sufficient information

to meaningfully “inform applicants . . . of [ ] voter eligibility requirements” in

Alabama.

   98. By failing to include complete voter eligibility requirements on these forms,

Defendant Merrill has violated and continues to violate the NVRA.

   99. Defendant Merrill is aware of this violation. Plaintiffs sent Defendant Merrill

notice of this violation of the NVRA through counsel on June 9, 2017. See Ex. A.

   100. Because of this ongoing NVRA violation, GBM diverts significant

organizational resources to informing voters of the eligibility requirements within

Section 17-3-30.1 that are not communicated via the State Form or Federal Form.

   101. Plaintiff GBM is aggrieved by Defendants’ past and continuing violations of

the NVRA, and has no adequate remedy at law. Declaratory and injunctive relief are

required to remedy Defendants’ past and continuing violations of the NVRA and to

ensure      Defendants’       future      compliance        with      the         NVRA.




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                                PRAYER FOR RELIEF


   In addition to Plaintiffs’ prayers for relief in their original complaint, Plaintiffs

respectfully pray this Court:


   (1) Certify the class and subclasses as defined in paragraphs 33, 35, and 36;

   (2) Issue a declaratory judgment that Section 177(b) of the Alabama Constitution,

by its terms and as applied through Alabama Code Section 17-3-30.1, violates the

Eighth, Fourteenth, and Fifteenth Amendments of the U.S. Constitution;

   (3) Issue a declaratory judgment that Defendant Merrill’s retroactive application

of Alabama Code Section 17-3-30.1 to citizens with convictions entered prior to

August 1, 2017 violates the Ex Post Facto Clause of Article I and the Fourteenth

Amendment of the U.S. Constitution;

   (4) Issue a declaratory judgment that Alabama Code Section 15-22-36.1(a)(3)

violates the Fourteenth Amendment of the U.S. Constitution;

   (5) Issue a declaratory judgment that Defendant Merrill’s failure to update the

State and Federal voter registration forms violates the NVRA, 52 U.S.C. § 20501 et

seq.

   (6) Enjoin the Defendants, their agents, employees and all those persons acting

in concert or participation with them, from enforcing Section 177(b) or Alabama Code

Section 15-22-36.1(a)(3), including:

             a. Enjoining Defendants from denying any voter registration

                applications on the basis of felony convictions;




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               b. Enjoining Defendants from removing any voters from the voter

                  registration rolls on the basis of felony convictions;

               c. Requiring Defendants to restore Alabama citizens to the voter

                  registration rolls if they were removed on the sole basis of their

                  felony convictions;

               d. In the alternative, entering injunctive relief as outlined in (a)-(c)

                  above as to Alabama citizens with convictions entered prior to

                  August 1, 2017;

               e. Enjoining Defendants from denying any applications for CERVs on

                  the basis of failure to pay any legal financial obligations;

               f. Requiring Defendants to inform those with disqualifying convictions

                  that the failure to pay legal financial obligations does not disqualify

                  them from restoring their right to vote under Alabama Code Section

                  15-22-36.1;

               g. Requiring Defendant Merrill to update the Federal and State voter

                  registration forms to reflect the voter eligibility requirements as

                  defined by Alabama Code Section 17-3-30.1.

   (7) Award Plaintiffs their costs, expenses, and reasonable attorneys’ fees incurred

in the prosecution of this action, as authorized by the Voting Rights Act and the Civil

Rights Attorney’s Fees Awards Act of 1973, 52 U.S.C. § 10310(e) and 42 U.S.C §

1988(b); and




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   (8) Grant such other equitable and further relief as the Court deems just and

proper.



                            Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I hereby certify that, on March 1, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.



                                   /s/ Danielle Lang
                                   Danielle Lang
                                   Counsel for Plaintiffs and Plaintiff Class
